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           PSJ3
        Exhibit 450A
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Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 3 of 73. PageID #: 384284
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 4 of 73. PageID #: 384285
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 5 of 73. PageID #: 384286
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 6 of 73. PageID #: 384287
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 7 of 73. PageID #: 384288
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 8 of 73. PageID #: 384289
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 9 of 73. PageID #: 384290
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 10 of 73. PageID #: 384291
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 11 of 73. PageID #: 384292
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 12 of 73. PageID #: 384293
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 13 of 73. PageID #: 384294
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 14 of 73. PageID #: 384295
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 15 of 73. PageID #: 384296
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 16 of 73. PageID #: 384297
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 17 of 73. PageID #: 384298
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 18 of 73. PageID #: 384299
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 19 of 73. PageID #: 384300
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 20 of 73. PageID #: 384301
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 21 of 73. PageID #: 384302
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 22 of 73. PageID #: 384303
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 23 of 73. PageID #: 384304
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 24 of 73. PageID #: 384305
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 25 of 73. PageID #: 384306
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 26 of 73. PageID #: 384307
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 27 of 73. PageID #: 384308
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 28 of 73. PageID #: 384309
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 29 of 73. PageID #: 384310
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 30 of 73. PageID #: 384311
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 31 of 73. PageID #: 384312
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 32 of 73. PageID #: 384313
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 33 of 73. PageID #: 384314
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 34 of 73. PageID #: 384315
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 35 of 73. PageID #: 384316
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 36 of 73. PageID #: 384317
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 37 of 73. PageID #: 384318
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 38 of 73. PageID #: 384319
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 39 of 73. PageID #: 384320
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 40 of 73. PageID #: 384321
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 41 of 73. PageID #: 384322
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 42 of 73. PageID #: 384323
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 43 of 73. PageID #: 384324
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 44 of 73. PageID #: 384325
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 45 of 73. PageID #: 384326
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 46 of 73. PageID #: 384327
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 47 of 73. PageID #: 384328
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 48 of 73. PageID #: 384329
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 49 of 73. PageID #: 384330
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 50 of 73. PageID #: 384331
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 51 of 73. PageID #: 384332
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 52 of 73. PageID #: 384333
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 53 of 73. PageID #: 384334
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 54 of 73. PageID #: 384335
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 55 of 73. PageID #: 384336
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 56 of 73. PageID #: 384337
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 57 of 73. PageID #: 384338
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 58 of 73. PageID #: 384339
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 59 of 73. PageID #: 384340
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 60 of 73. PageID #: 384341
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 61 of 73. PageID #: 384342
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 62 of 73. PageID #: 384343
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 63 of 73. PageID #: 384344
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 64 of 73. PageID #: 384345
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 65 of 73. PageID #: 384346
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 66 of 73. PageID #: 384347
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 67 of 73. PageID #: 384348
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 68 of 73. PageID #: 384349
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 69 of 73. PageID #: 384350
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 70 of 73. PageID #: 384351
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 71 of 73. PageID #: 384352
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 72 of 73. PageID #: 384353
Case: 1:17-md-02804-DAP Doc #: 2364-2 Filed: 08/14/19 73 of 73. PageID #: 384354
